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                         IN THE UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                    MIAMI DIVISION

  FERYAL AND WAJDAN MOHAMMAD,                            CASE NO.: 1:18cv23102

         Plaintiff,

  vs.

  SYNCHRONY BANK,

         Defendant.
                                                /

                  JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

         Pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, Plaintiffs,

  FERYAL MOHAMMAD and WAJDAN MOHAMMAD, hereby dismiss the above-entitled

  action and all claims asserted in the action against Defendant, SYNCHRONY BANK, with

  prejudice. The parties agree to bear their own fees and costs.

    Respectfully Submitted,                           Respectfully Submitted,

    /s/ Christopher W. Boss                           /s/ Brandon T. White
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                                    CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on this 12th day of February, 2019, I electronically filed the
  foregoing document with the Clerk of Court using CM/ECF. I also certify that the foregoing
  document is being served this day on all counsel of record or pro se parties either via transmission
  of Notices of Electronic Filing generated by CM/ECF or in some other authorized manner for those
  counsel or parties who are not authorized to receive electronically Notices of Electronic Filing,
  including:

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  Attorney for Defendant

                                                       /s/ Christopher W. Boss
                                                       Christopher W. Boss (FBN 13183)
